 Case 1:19-cv-16595-RBK-JS Document 8 Filed 09/09/19 Page 1 of 1 PageID: 80



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

 BRADARI ALTMAN

                         Plaintiff,
       v.                                   Civil No. 19-16595 (RBK/JS)

 STOCKTON UNIVERSITY
                          Defendant.

                            SCHEDULING ORDER

     IT IS this 6th day of September, 2019, hereby ORDERED:

     1.   With the consent of the parties, all proceedings in the
case are STAYED pending further Order of the Court.

     2.   The   Court  will   conduct  an   in-person           settlement
conference on October 17, 2019 at 3:00 P.M.

THE FAILURE OF A PARTY OR ATTORNEY TO OBEY THIS ORDER MAY RESULT
     IN IMPOSITION OF SANCTIONS UNDER FED. R. CIV. P. 16(f).

                                      s/ Joel Schneider
                                      JOEL SCHNEIDER
                                      United States Magistrate Judge




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